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UNITED STATES DISTRICT COURT
MlDDLE DISTRICT OF FLORI DA `
20|{1 APR l | PH 121 G'Lt

ANDREA DOUGLAS, l ~ t - . ,

CASE NO.

Plaintiff,
v- Z~.\¢t w%(@<>/!/\>,€Prg
ALLlED INTERSTATE LLC,

Defendant.

 

 

NOTICE OF REMOVAL

Defendant, Allied Interstate LLC (“Allied”), files this Notice of Removal of action to the
United States District Court for the Middle District of Florida pursuant to 28 U.S.C. §§ 1331,
1441 (a) and 1446 and as grounds in support thereof Allied respectfully states as follows:

1. Andrea Douglas (the “Plaintifi”) filed this action on or about March 5, 2014 in the
Circuit in and for the Sixth Judicial Circuit in and for Pasco County, Florida, Case No. 2014 CA
858 WS (G) (the “Circuit Court Action”).

2. The Plaintift` served the complaint on or about March 18, 2014.

3. As can be seen from the face of the complaint, the Plaintiff has raised claims
against Allied pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq. (the
“FDCPA”) and the 'I`elephone Consumer Protection Act 47 U.S.C. §§ 227 et seq. (the “TCPA”),
as well as claims brought pursuant to the Florida Consumer Collection Practices Act, Fla. Stat.
§§ 559.55 et seq. (the “FCCPA”).

4. Allied seeks removal of this action pursuant to 28 U.S.C. §§ 1331 and 1441(a)
based on the grounds that the claims alleged under the FDCPA and the TCPA raise a federal

question. The assertion of federal claims makes jurisdiction in this Court proper pursuant to 28

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U.S.C. § 1331 and thus makes removal pursuant to 28 U.S.C. § l44l(a) proper, as this Court has
original jurisdiction of the federal claims.

5. To further demonstrate that there is federal question jurisdiction under the
FDCPA, the FDCPA contains its own statute that provides for jurisdiction in this Court.
Specifically, 15 U.S.C. § l692(k)(d) states, in pertinent part: “[J]urisdiction. An action to enforce
any liability created by this title may be brought in any appropriate United:States district cdurt
without regard for the amount of controversy, or in any other court of competent jurisdiction,
within one year from thc date on which the violation oecurs."

6. As to the TCPA, the Supreme Court has held that federal question jurisdiction
exists for claims under the TCPA. See Mims v. Arrow Financial Services, LLC, 560 U.S. _,
132 S.Ct. 740, 181 L.Ed. 2d 881 (2012).

7. 28 U.S.C. § 1331 reads, "[T]he district courts shall have original jurisdiction of all
civil actions arising under the Constitution, laws, or treaties of the United States.” The complaint
the Plaintifl` has filed in this case contains counts that arise under thc laws of the United States,
specifically the FDCPA, 15 U.S.C. § 1592 et seq. and the TCPA, 47 U.S.C. § 227 et seq.

8. Aceordingly, this action is proper for removal under the basis that federal
question jurisdiction exists and, accordingly, this Court may exercise original jurisdiction over
this matter.

9. As for the claims that have been asserted under the FCCPA, those claims may
also be removed to this Court both pursuant to 28 U.S.C. § l44l(a) and because this Court has
supplemental jurisdiction over them pursuant to 28 § U.S.C. 1367(a).

10. Because this Court has jurisdiction over the FDCPA and TCPA claims pursuant to
28 U.S.C. § 1331, removal of the non-federal claims is also proper. Aceordingly, this Court can

exercise jurisdiction over the FCCPA claim as well.
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ll. Section 1367, which is titled “Supplemental Jurisdiction", states “[I]n any civil
action ol` which the district court has original jurisdiction, thc district court shall have
supplemental jurisdiction over all other claims that are so related to the claims in the action
within such original jurisdiction that they form part of the same case or controversy under Article
Ill of the United States Constitution.”

12. ln this case, based on the allegations in the Complaint, the Plaintiff has essentially
alleged that the same facts that give rise to the FDCPA claim also give rise to the FCCPA claim.
This of course is not surprising given that the Fla. Stat. § 599.77(5) states that in applying and
construing thc FCCPA, “[D]ue consideration and great weight shall be given to the
interpretations of the Federal Trade Commission and the Federal Courts relating to the FDCPA.”
Essentially, the FCCPA is a state law remedy that provides additional protections to a consumer
along with the FDCPA. Aceordingly, the claims that arise under the FDCPA and the FCCPA in
this case arc essentially the same and, accordingly, the Court can exercise supplemental
jurisdiction.

13. Another court within this district recently found that removal of a TCPA and
FCCPA claim was proper and that it was proper to exercise supplemental jurisdiction over the
FCCPA claim, and thus denied remand of a case where the plaintiff has alleged violations of
both the TCPA and the FCCPA and the claims were based on the same debt collection activities.
Speidel v. Am. Honda Fimmce Corp., 2014 U.S. Dist. LEXIS 26778 (M.D. Fla. march 3, 2014)
(Chappell, .l.). The instant matter makes an even stronger case for removal given that, in
addition to the TCPA, the Plaintiff has alleged FDCPA violations.

l4. By seeking removal of this case, Allied does not admit that it has any liability to

the Plaintiff, Allied continues to dispute that it has any liability whatsoever in this matter.

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15. Allied has submitted copies of the summons, complaint and answer filed in this

case to the Clerk of Court herewith. The Plaintiff has served certain discovery; Allied has not

included it, but will respond in accordance with the Federal Rules, or in any time the Court so

orders.

WHEREFORE, for the reasons stated herein, Allied requests this Court take jurisdiction

of this action that Allied has removed, as well as grant any further relief the Court deems proper

under the circumstances

Dated this 10"‘ day oprrn, 2014.

SLATKIN & REYNoLDs, P.A.

Attomeys for Allied Interstate

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_ERTIF!CATE OF SERVICE
l hereby certify that a true copy of thc foregoing has been furnished via cmail
tbradlow@protectyourfuture.com and U.S. Mail to Anthony S. Bradlow, Esq., Boss Arrighi &
Hoag, PL, 9800 Fourth Street North, Suite 402, St. Petersburg, FL 33702 on this 10‘h day of

Apri1,2014.

 
     

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/R“oBERT F. REYNOLDS

 

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